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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6                                          SAN JOSE DIVISION

                                   7
                                         UNITED STATES OF AMERICA,
                                   8                                                         Case No. 18-cr-00258-EJD-1
                                                        Plaintiff,
                                   9                                                         REVISED ORDER SETTING CASE
                                                  v.                                         SCHEDULE
                                  10
                                         ELIZABETH A. HOLMES,
                                  11
                                                        Defendant.
                                  12
Northern District of California
 United States District Court




                                  13

                                  14          This case was set for jury trial to commence on March 9, 2021. This setting followed

                                  15   continuances of the trial for a variety of reasons including the court’s concerns for the health of all

                                  16   potential trial participants and the public. The court has been vigilant in keeping informed as to

                                  17   the impact of the COVID-19 Pandemic in the nation and state and in day to day life in the San

                                  18   Francisco bay area. The court notes sadly, the impact on our lives is grim. California is in the

                                  19   midst of an unprecedented surge in cases and hospitalizations. As of December 18, 2020,

                                  20   California has 1,764,374 confirmed cases of COVID-19, resulting in 22,160 deaths. See

                                  21   https://covid19.ca.gov/state-dashboard. Today alone, 300 lives were lost to COVID-19. Id. We

                                  22   are operating under a Regional Stay Home Order to save lives, protect the health care delivery

                                  23   system and keep those at highest risk and essential workers safe. Locally, Santa Clara County is

                                  24   reporting that the 7-day rolling average of new cases is 1,170 and that hospitals are nearing

                                  25   maximum capacity. These conditions will impact the jury panel and the public’s confidence in an

                                  26   in-person trial estimated to last several months. The court is hopeful conditions will improve

                                  27   significantly in the near future. The FDA has approved a second Covid vaccine. See

                                  28   Case No.: 18-cr-00258-EJD-1
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                                   1   https://www.cnbc.com/2020/12/18/moderna-covid-vaccine-approved-fda-for-emergency-use.html.

                                   2   The nation’s top infectious disease expert, Dr. Anthony Fauci, estimates that the general public

                                   3   should be able to be vaccinated within two to four months. See https://www.today.com/health/dr-

                                   4   fauci-hoping-get-covid-19-vaccine-within-next-few-t204241. All of this supports continuing the

                                   5   trial to a time when our community is safer. The court recognizes that a continuance of the trial

                                   6   will cause great inconvenience to victims who would like their day in court, as well as Defendant,

                                   7   who wishes a speedy opportunity to defend against the charges. All of these rights are important,

                                   8   but paramount to the court is the safety and health of the community.

                                   9          Accordingly, the court sets the following case schedule in light of the ongoing COVID-19

                                  10   Pandemic and the need for effective preparation for trial due to the complexities of the case:

                                  11
                                                DATE                                  EVENT
                                  12            Friday, January 8, 2021 by 5pm        Responses to motions in limine
Northern District of California
 United States District Court




                                  13            Monday, February 15, 2021 by          Replies for motions in limine
                                                5pm
                                  14            10:00 a.m., March 23, 24, 2021        Hearing for motions in limine and motions
                                                                                      re: experts.
                                  15
                                                Thursday, May 27, 2021                Proposed jury instructions, juror
                                  16                                                  questionnaire, and voir dire questions due
                                  17            Thursday, June 3, 2021                Pretrial Conference statement due per
                                                                                      Criminal Local Rule 17.1-1(b).
                                  18
                                                                                      The Government shall advise the court that
                                  19                                                  it has produced all Brady and Giglio
                                                                                      information in its possession and will
                                  20                                                  continue to produce any the Government
                                                                                      subsequently discovers
                                  21
                                                10:00 a.m., Tuesday, June 15,         Pretrial Conference
                                  22            2021
                                  23            9:00 a.m., Tuesday, July 13, 2021     Trial (first day of jury selection)

                                  24          It is further ordered that time is excluded pursuant to 18 U.S.C. § 3161(h)(7)(A), 18 U.S.C.
                                  25   §3161(h)(7)(B)(iv) and 18 U.S.C. §3161(h)(7)(B)(ii). The court finds that the ends of justice
                                  26   served by the continuance outweigh the best interest of the public and the Defendant in a speedy
                                  27   trial, and excludes time through and including July 13, 2021.
                                  28   Case No.: 18-cr-00258-EJD-1
                                       REVISED ORDER SETTING CASE SCHEDULE
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                                   1         For the above stated reasons, time is excluded.

                                   2         IT IS SO ORDERED.

                                   3   Dated: December 18, 2020

                                   4                                                 ______________________________________
                                                                                     EDWARD J. DAVILA
                                   5                                                 United States District Judge
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Northern District of California
 United States District Court




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                                  28   Case No.: 18-cr-00258-EJD-1
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